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                        IN THE UNITED STATES DISTRICT COURT FOR                     JAN - 8 "
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                            THE EASTERN DISTRICT OF VIRGINIA                  CLERKU          CT COURT
                                                                                            N 3WS


                                   NEWPORT NEWS DIVISION


   UNITED STATES OF AMERICA                            )
                                                      )
                  V.                                   )   CRIMINAL NO. 4:23cr54
                                                       )
   NAJAE VAUGHN                                       )
                                                       )
                  Defendant.                           )


                                     STATEMENT OF FACTS


           Comes now the United Stales and offers to the court that had the above-styled matter
   proceeded to trial the United States would have proven the following facts beyond a
   reasonable doubt.


     I. Federal law enforcement opened an investigation into LUX AUTO circa June 2021 after

          receiving information about large-scale drug trafficking activity at the business.

          Additionally, LUX AUTO was referenced in a separate open FBI investigation into a

          shooting incident that occurred on or about August 27, 2021, in Hampton, VA where

          Hampton Police Division officers were targeted by gunfire. The individuals in this

          superseding indictment were using LUX AUTO as a base of operations on the east coast

          whilst being supplied by Sources of Supply (“SoS”) in California and elsewhere.


     2.   Video footage obtained from Technical Surveillance of LUX AUTO corroborated the

          storage of illegal drugs in multiple vehicles throughout the parking lot of LUX AU'FO.

          This surveillance also established that members of the organization were frequently armed


          with handguns and/or assault style weapons. These weapons were visible on the camera

          and were recorded, 'fcchnical Surveillance at storage units in Newport News also


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          corroborated the storage of suitcases full of suspected illegal drugs off of the LUX AUTO

          lot.




     3.   Law enforcement utilized a wide range of investigative techniques over the course of this

          multi-year investigation, to include an expansive financial investigation that uncovered

          over $22,000,000 flowing in and out of various accounts belonging to or associated with

          the individuals in the superseding indictment and their associates, plus approximately

          $5,000,000 flowing between Peer to Peer f‘P2P”) accounts. Various methods of

          surveillance, controlled evidence purchases,       covert-entry search warrants, airport

          interdictions, and Title-111 wire, and data intercepts largely contributed to the overall

          discovery of a successful, multi-faceted conspiracy to traffic thousands of pounds of illegal

          marijuana via commercial aircraft into the Commonwealth of Virginia.


     4. Between March of 2022 and July 2023, the United States District Court for the Eastern

          District of Virginia, approved approximately 15 initial and/or renewal Applications for

          Orders authorizing the interception of wire and/or electronic communications occurring

          over telephones utilized by various individuals listed in the indictment. During the course

          of those interceptions, the communications of each individual charged in the indictment

          were, at times, intercepted and found to be facilitating or discussing the criminal activity

          of this criminal enterprise. Those communications, marked as “Pertinent” by monitors or

          reviewers, laid the foundation for a widespread conspiracy dating back approximately

          seven years.



     5. Between August 17, 2020, and January 25, 2023, several monetary seizures occurred at

          various major airports in the Mid-Atlantic area. Of those seizures, a total of nearly


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          $400,000 in U.S. currency (cash) was seized from members and/or associates of this

          criminal enterprise. This currency was either derived from the sale of controlled substances

          or was intended for the purchase of distribution amounts of controlled substances, primarily

          being marijuana.


     6.   Between January 20, 2021, and August 24, 2023, several seizures of illegal marijuana

          and/or related contraband took place at major airports in the Mid-Atlantic area. To date,

          almost 1000 pounds of illegal marijuana have been seized through targeted interdiction

          operations, many of which were developed through monitoring of the aforementioned

          Title-111 wire and data intercepts. According to intercepted conversations and airline

          records between the dates in the indictment, the organization was trafficking as much as

          1000 pounds of marijuana per week into the Commonwealth of Virginia.                This is


          corroborated by the fact that the organization spent more than $500,000 on air travel in

          support of the movement of marijuana from the SoS to the Commonwealth of Virginia.


     7. The members of the organization had varying roles and responsibilities. The leaders of

          this drug trafficking operation engaged with the sources of supply outside the

          Commonwealth of Virginia and arranged for the purchase of large loads of marijuana that

          were the marked for transportation to the Eastern District of Virginia, 'fhe leaders would

          then instruct other members of the organization to arrange for couriers to lly to the SoS,

          deliver money to them and then return to the Eastern District of Virginia with the

          marijuana. The leaders would then arrange for mid-level members of the organization to

          receive the marijuana from the couriers and distribute it to customers or have subordinate

          dealers sell the marijuana.



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     8. The leaders of the organization had lieutenants who were responsible for arranging for

        couriers to travel to the SoS to obtain the marijuana, for obtaining locations to store the

        marijuana and insuring the ultimate distribution of the marijuana. These lieutenants would

        sometimes travel to the SoS themselves or would accompany couriers on their travels.


     9. The lieutenants supervised individuals who were responsible for distributing the marijuana

        and sometimes receiving the marijuana from the couriers as they returned from the SoS.

        These individuals at times were also expected to collect the proceeds from the sale of the

        marijuana.



     10. The couriers would be contacted by members of the organization when the need for

        marijuana transportation arose. The couriers were provided with tickets to the SoS and

        usually two suitcases. The couriers would then be transported to various airports in the

        Eastern District of Virginia for flights to the SoS. The courtiers would take the suitcases,

        often filled with currency and travel to the SoS.      When the couriers arrived at their

        destination, they would be met by representatives from the SoS and the suitcases would be

        filled with between 20 and 80 pounds of marijuana. The following day the courtiers would

        return to the Eastern District of Virginia with the suitcases full of marijuana. When the

        couriers arrived in the Eastern District of Virginia, members of the organization would

        either meet them at the airport or arrange for the couriers to Uber to a location where they

        would surrender the suitcases. The couriers were paid as much as $ 1,500.00 for these trips.


     11. The organization possessed this rough structure of organization over a period of years.

        However, the role of the individuals in the organization was at times fluid. Organization

        members were often called upon to perform multiple roles. If a situation arose, a non-


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        courier might be required to travel to the SoS to transport marijuana. Also, some members

        of the organization, in addition to their tradition role, might need to do paperwork for a

        flight, deposit drug proceeds into an account or aid in the storage of marijuana.


     12. NAJAE VAUGHN served primarily in the role of distributing marijuana. ‘VAUGHN
                                                                                                        \JV
        worked fm* CoKoz     Dayakflwn ■Bumphuc v.'ho was ti Icadui uf llic 'organidiatitfni. 'CorLcT

        BiimpTms maintained an apartment on Goldsboro Drive in Newport News. The purpose of

        this location was to package marijuana and other drugs for distribution. The residence was

        also used to distribute marijuana and other drugs to purchasers. The money from these

        sales would be counted in the residence. This location was the subject of surveillance by


        law enforcement.


                                                        £) A                                    \jjh
     13. On July 5,2023, the defendant, atCOITCZ'BTmipliir#* dw=eetk)n, carried in a large duffle bag

        into the Goldsboro Drive apartment which the defendant knew to be marijuana, even

        though he had not opened the duffle bag. Tj         rervations were confirmed by T-Ill wire

        intercepts of Cortez Bumplnio talking al>dut selling drugs from the location.          ●T-III

                                                           A
        intercepted a call on July 1, 2023, wherein Guitcz Dumpliui> and the defendant, in

        furtherance of the conspiracy, arranged for a conspiracy related transaction.


     14. Law enforcement agents obtained a federal search warrant for the Goldsboro address and

        executed it on July 5, 2023. During the execution of the search warrant distribution

        quantities of marijuana and other drugs were located in the residence. There were also

        packaging materials, scales and more than $30,000 in United States currency. In addition

        to the drug related items, a number of firearms were located in the residence. The defendant

        ran from the apartment when law enforcement executed the search warrant.


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     !5. In addition to the locatiQ^^^ji^oldsboro Drive, the defendant used a location at'faidii4»

        Way in Newpa^^l^vs^^^^'ginia to store drugs, firearms and money. The drugs were
        intended for distribution and the money was proceeds from this distribution. The apartment

        was rented in the name of VAUGHN’s sister J.V.          However, J.V. was unaware of the

        purpose and uses of the apartment by her brother.


     16. The parties agree that the defendant conspired with his co-defendants to possess with

        intent to distribute and to distribute more than 50 kilograms of marijuana and a quantity of


        oxycodone. The parties also agree that the defendant possessed a firearm in furtherance of

        his drug trafficking activities. The parties also agree that the defendant is responsible for

        400 kilograms or less of converted drug weight. These events occurred in the Eastern

        District of Virginia and elsewhere. Marijuana is a Schedule I controlled substance and

        Oxycodone is a Schedule 11 narcotic controlled substance.



                                                       Respectfully submitted,

                                                       JESSICA D. ABER
                                                       UNITED STATES ATTOR^lEY.


                                                       Eric M. Hurt
                                                       Assistant United States Attorney
                                                       City Center One
                                                       11815 Fountain Way, Suite 200
                                                       Newport News, Virginia 23606
                                                       VA Bar #35765




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          After consulting with my attorney and pursuant to the plea agreement entered into this
   day between the defendant, NAJAE VAUGHN and the United States, I hereby stipulate that
   the above Statement of Facts is true and accurate, and that had the matter proceeded to trial, the
   United States would have proved the same beyond a reasonable doubt.



                                                 NAJAE VAUGHN




           I am NAJAE VAUGHN’s attorney and 1 have carefully reviewed the above Statement
   of Facts with the defendant. To my knowledge, the decision Uj. stipulate to these facts is an
   informed and voluntary one.


                                                John4v4arch
                                                Aj^rney for NAJAE VAUGHN




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